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        EXHIBIT A
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MACOM                                                                                                                        systems technologist, SoC Architect
                                                                                                                             & Leader
February 2015 – Present (3 years 5 months) Lowell
                                                                                                                             John Atherton
                                                                                                                             Senior Principal Engineer at MACOM



Chief Technologist                                                                                                           Todd Bridges
                                                                                                                             Senior Director of Technology at
Hittite Microwave Corporation                                                                                                Qualcomm
October 2013 – Present (4 years 9 months) Chelmsford , MA
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Corporate Business Development
Hittite Microwave
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March 2012 – October 2013 (1 year 8 months)

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Director IC Engineering                                                                                                  Frank Traut
Hittite Microwave                                                                                                        Senior Director Technology and
March 2008 – March 2012 (4 years 1 month)                                                                                Innovation at MACOM RF and
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Principle MMIC Designer
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Microwave Engineer                                                                                                First Name            Last Name               
Plessey                                                                                                          Example: Jeff Weiner
June 1990 – March 2003 (12 years 10 months)
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